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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                 Case No: 6:22-cv-00515
                                      §
vs.                                   §                 PATENT CASE
                                      §
FORD MOTOR COMPANY,                   §
                                      §
      Defendant.                      §
_____________________________________ §


                             PLAINTIFF’S RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Display Technologies, LLC a private non-governmental property, certifies that the

names of all associations, firms, partnerships, corporations, and other artificial entities that either

are related to the plaintiff as a parent, subsidiary, or otherwise, or have a direct or indirect

pecuniary interest in the plaintiff’s outcome in the case are below:


        Patent Asset Management, LLC




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Dated: May 20, 2022.             Respectfully submitted,



                                 /s/ Jay Johnson
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